                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,       :    Case No.: 3:19CR96(1)TMR
                                 :
                   Plaintiff,    :    MOTION TO DISMISS INDICTMENT
                                 :    AS TO DEFENDANT STEVE R.
                   v.            :    RAUCH
                                 :
 STEVE R. RAUCH,                 :
                                 :
         Defendant.              :



     Pursuant to the provisions of Rule 48(a) of the Federal

Rules of Criminal Procedure, plaintiff United States of America,

by and through its counsel of record, the United States

Attorney=s Office for the Southern District of Ohio, hereby moves

to dismiss the indictment against defendant Steve R. Rauch only.

This motion is based upon the attached memorandum of points and

authorities, the files and records in this case, and such
evidence or argument as may be presented at any hearing on this

matter.

DATED: February 19, 2021      Respectfully submitted,

                              DAVID M. DEVILLERS
                              UNITED STATES ATTORNEY

                              s/Brent G. Tabacchi
                              BRENT G. TABACCHI (6276029 IL)
                              Assistant United States Attorney
                              Attorneys for Plaintiff
                              602 Federal Building
                              200 West Second Street
                              Dayton, OH   45402
                              Telephone: (937) 225-2910
                              Fax: (937) 225-2564
                              brent.tabacchi@usdoj.gov
               MEMORANDUM OF POINTS AND AUTHORITIES

     Federal Rule of Criminal Procedure 48(a) provides that “the

government may, with leave of court, dismiss an indictment,

information, or complaint.”   Fed. R. Crim. Proc. 48(a).

“Separation-of-powers concerns generally require a district

court to defer to the government's decision to seek a dismissal

of a criminal charge because a denial of the motion would

represent an intrusion upon prosecutorial prerogative.”    United

States v. Gonzalez, 58 F.3d 459, 462 (9th Cir. 1995).   Phrased

differently, “the decision to dismiss [charges] implicates

concerns that the Executive is uniquely suited to evaluate, and

a district court should be reluctant to deny its request.”    Id.;

see also United States v. Salinas, 693 F.2d 348, 352 (5th Cir.

1982) (“The Executive [Branch] remains the absolute judge of

whether a prosecution should be initiated and the first and

presumptively the best judge of whether a pending prosecution

should be terminated.   The exercise of its discretion with

respect to the termination of pending prosecutions should not be

judicially disturbed unless clearly contrary to manifest public

interest.”).
     Here, the United States exercises its discretion and, in

the interests of justice, moves to dismiss the indictment as to

defendant Steve R. Rauch only.    The United States therefore

requests that the Court grant this motion.

DATED: February 19, 2021         Respectfully submitted,

                                 DAVID M. DEVILLERS
                                 UNITED STATES ATTORNEY

                                 s/Brent G. Tabacchi
                                 BRENT G. TABACCHI (6276029 IL)
                                 Assistant United States Attorney
                                 Attorneys for Plaintiff
                                 602 Federal Building
                                 200 West Second Street
                                 Dayton, OH   45402
                                 Telephone: (937) 225-2910
                                 Fax: (937) 225-2564
                                 brent.tabacchi@usdoj.gov
                     CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was served
this 19th day of February 2021, on defendant’s counsel via the
Court's ECF system.

s/Brent G. Tabacchi
BRENT G. TABACCHI
Assistant United States Attorney
